     Case 3:23-cv-03417-VC         Document 277         Filed 11/13/24   Page 1 of 5



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                                UNITED STATES DISTRICT COURT
16

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                   SAN FRANCISCO DIVISION

19   RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

20      Individual and Representative Plaintiffs,        STIPULATION AND [PROPOSED] ORDER RE
                                                         SCHEDULING OF DEPOSITION
21          v.

22   META PLATFORMS, INC., a Delaware
     corporation;
23
                                     Defendant.
24

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                                                                              STIP. AND [PROP] ORDER
                                                    1                                  RE DEPOSITION
                                                                           CASE NO. 3:23-CV-03417-VC
      Case 3:23-cv-03417-VC          Document 277          Filed 11/13/24    Page 2 of 5



 1          Pursuant to Civ. L.R. 6-2 and 7-12, Plaintiffs Richard Kadrey, Sarah Silverman, Christopher

 2   Golden, Jacqueline Woodson, Andrew Sean Greer, Rachel Louise Snyder, David Henry Hwang,

 3   Ta-Nehisi Coates, Laura Lippman, Matthew Klam, Junot Díaz, Lysa Terkeurst and Christopher

 4   Farnsworth (“Plaintiffs”); and Defendant Meta Platforms, Inc. (“Defendant”) (collectively, the

 5   “Parties”) by and through their respective counsel stipulate to the following:

 6          WHEREAS, the Court entered an Order extending the discovery deadline until December

 7   13, 2024, ECF No. 211;

 8          WHEREAS, to accommodate the schedule of Meta CEO Mark Zuckerberg and avoid

 9   submitting a scheduling dispute to the Court for resolution, the Parties agreed to seek leave of Court

10   to take Mr. Zuckerberg’s deposition on Tuesday, December 17, 2024—four days after the Court’s

11   December 13, 2024 fact discovery deadline;

12          WHEREAS, there has only been one extension of the fact discovery deadline requested and

13   entered in this case, which was the Court’s Order setting the December 13, 2024 fact discovery

14   deadline, ECF No. 211;

15          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and through

16   Plaintiffs and Defendant, as represented by their undersigned counsel and subject to the approval

17   of the Court, that the deposition of Mr. Zuckerberg may occur on Tuesday, December 17, 2024,

18   after the close of fact discovery. No other deadlines are modified by this stipulation.

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                                                                                   STIP. AND [PROP] ORDER
                                                       1                                    RE DEPOSITION
                                                                                CASE NO. 3:23-CV-03417-VC
     Case 3:23-cv-03417-VC        Document 277       Filed 11/13/24   Page 3 of 5



 1   Dated: November 12, 2024
                                           Respectfully Submitted,
 2
     By: /s/ Bobby Ghajar                  By: /s/ Maxwell V. Pritt
 3

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                                                                           STIP. AND [PROP] ORDER
                                                 2                                  RE DEPOSITION
                                                                        CASE NO. 3:23-CV-03417-VC
     Case 3:23-cv-03417-VC   Document 277       Filed 11/13/24   Page 4 of 5



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                                      Plaintiffs and the Proposed Class
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                                                                      STIP. AND [PROP] ORDER
                                            3                                  RE DEPOSITION
                                                                   CASE NO. 3:23-CV-03417-VC
     Case 3:23-cv-03417-VC      Document 277        Filed 11/13/24    Page 5 of 5



 1                                    PROPOSED ORDER

 2        Pursuant to stipulation of the Parties, IT IS SO ORDERED.

 3

 4
             November 13, 2024
     DATED: __________________
 5                                           HON. VINCE CHHABRIA
 6                                           United States District Judge

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                                                                           STIP. AND [PROP] ORDER
                                                4                                   RE DEPOSITION
                                                                        CASE NO. 3:23-CV-03417-VC
